      Case 2:17-bk-53776                     Doc 98       Filed 07/09/20 Entered 07/09/20 17:17:55                                 Desc Main
 Fill in this information to identify the case:           Document     Page 1 of 5

 Debtor 1              John Michael Smilo
                       __________________________________________________________________

 Debtor 2               Traci Lynn Smilo
                        ________________________________________________________________
 (Spouse, if filing)

                                         Southern
 United States Bankruptcy Court for the: ______________________              Ohio
                                                                District of __________
                                                                             (State)
 Case number             2:17-bk-53776
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association,
                   as Trustee of Cabana Series III Trust
 Name of creditor: _______________________________________                                                           6-1
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          9638____ ____ ____
                                                         ____                            Must be at least 21 days after date       08        2020
                                                                                                                                   ____/____/_____
                                                                                                                                        03
                                                                                         of this notice


                                                                                         New total payment:                          1,361.58
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q    No
      q    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                             391.82
                   Current escrow payment: $ _______________                           New escrow payment:           399.62
                                                                                                                   $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q    No
      q    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q    No
      q    Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
     Case 2:17-bk-53776                        Doc 98             Filed 07/09/20 Entered 07/09/20 17:17:55                            Desc Main
                                                                  Document     Page 2 of 5

Debtor 1         John Michael Smilo
                 _______________________________________________________                                                2:17-bk-53776
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q     I am the creditor.

     q
     X     I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û_____________________________________________________________
  /s/ Michelle Ghidotti
     Signature
                                                                                                Date    07 09 2020
                                                                                                        ____/_____/________




 Print:             Michelle Ghidotti
                    _________________________________________________________                   Title   AUTHORIZED AGENT
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti Berger, LLP
                    _________________________________________________________



 Address            1920 Old Tustin Ave
                    _________________________________________________________
                    Number                 Street

                    Santa Ana, CA 92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone       949
                    (______) _____– 2010
                             427 _________                                                            mghidotti@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
                                                                                                                            PAGE 1 OF 2
           Case 2:17-bk-53776             Doc 98       Filed 07/09/20 Entered 07/09/20 17:17:55 Desc Main
                                                       Document     Page 3 of 5       Annual Escrow Account
                                                                                        Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                             ACCOUNT NUMBER:
  1-800-327-7861
  https://myloanweb.com/BSI                                                   1461369638_ESCROWDISCSTMT_200625

                                                                                    DATE: 06/25/20

                                                 163
             JOHN M SMILO                                                           PROPERTY ADDRESS
             636 RIDGEWOOD DR                                                       636 RIDGEWOOD DR
             COSHOCTON, OH 43812                                                    COSHOCTON, OH 43812



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 08/03/2020
THROUGH 07/31/2021.
            -------- ANTICIPATED PAYMENTS FROM ESCROW 08/03/2020 TO 07/31/2021 ---------
HOMEOWNERS INS                                                 $1,467.99
COUNTY TAX                                                     $2,881.26
TOTAL PAYMENTS FROM ESCROW                                     $4,349.25
MONTHLY PAYMENT TO ESCROW                                         $362.43
          ------ ANTICIPATED ESCROW ACTIVITY 08/03/2020 TO 07/31/2021 ---------
                    ANTICIPATED PAYMENTS                                                           ESCROW BALANCE COMPARISON
MONTH         TO ESCROW            FROM ESCROW                  DESCRIPTION                 ANTICIPATED                 REQUIRED

                                                        STARTING BALANCE -->               $1,374.99                   $1,821.33
AUG                $362.43                                                                 $1,737.42                   $2,183.76
SEP                $362.43                                                                 $2,099.85                   $2,546.19
OCT                $362.43               $1,467.99 HOMEOWNERS INS                            $994.29                   $1,440.63
NOV                $362.43                                                                 $1,356.72                   $1,803.06
DEC                $362.43               $1,440.63 COUNTY TAX                         L1->   $278.52              L2->   $724.86
JAN                $362.43                                                                   $640.95                   $1,087.29
FEB                $362.43                                                                 $1,003.38                   $1,449.72
MAR                $362.43                                                                 $1,365.81                   $1,812.15
APR                $362.43                                                                 $1,728.24                   $2,174.58
MAY                $362.43                                                                 $2,090.67                   $2,537.01
JUN                $362.43               $1,440.63 COUNTY TAX                              $1,012.47                   $1,458.81
JUL                $362.43                                                                 $1,374.90                   $1,821.24
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS LESS THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SHORTAGE. YOUR ESCROW SHORTAGE IS $446.34.
                                             CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                         $961.96
ESCROW PAYMENT                                                                          $362.43
SHORTAGE PYMT                                                                            $37.19
NEW PAYMENT EFFECTIVE 08/03/2020                                                      $1,361.58
YOUR ESCROW CUSHION FOR THIS CYCLE IS $724.86.




                                        ********** Continued on reverse side ************

                                                                                        Escrow Payment Options
                                                                               I understand that my taxes and/or insurance has increased and that
                                                                               my escrow account is short $446.34. I have enclosed a check for:

                                                                                    Option 1: $446.34, the total shortage amount. I understand
Loan Number:                                                                        that if this is received by 08/03/2020 my monthly mortgage
Statement Date:              06/25/20                                               payment will be $1,324.39 starting 08/03/2020.
Escrow Shortage:              $446.34
                                                                                    Option 2: $_____________ , part of the shortage. I understand
                                                                                    that the rest of the shortage will be divided evenly and added
        Important: Please return this coupon with your check.                       to my mortgage payment each month.
                                                                                    Option 3: You do not need to do anything if you want to
                                                                                    have all of your shortage divided evenly among the next
            BSI FINANCIAL SERVICES                                                  12 months.
            314 S. Franklin Street, 2nd Floor                                 Please make you check payable to: BSI FINANCIAL SERVICES and
            P.O. Box 517                                                      please include your loan number on your check.
            Titusville, PA 16354
                                                                                                                                                                                                 PAGE 2 OF 2
                    Case 2:17-bk-53776                             Doc 98 Filed 07/09/20 Entered 07/09/20 17:17:55                                                                      Desc Main
                                                                             Document from
                                                                  ********** Continued   Page 4 of**********
                                                                                           front    5


                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 08/03/2019 AND ENDING 07/31/2020. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 08/03/2019 IS:
   PRIN & INTEREST                                                                                                                        $961.96
   ESCROW PAYMENT                                                                                                                         $339.07
   SHORTAGE PYMT                                                                                                                           $52.78
   BORROWER PAYMENT                                                                                                                     $1,353.81
                        PAYMENTS TO ESCROW                                      PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                    ACTUAL                      DESCRIPTION                 PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                         $1,655.48                          $999.87
   AUG                  $339.07                       $0.00 *                                                                                                              $1,994.55                          $999.87
   SEP                  $339.07                     $783.70 *                                                                                                              $2,333.62                        $1,783.57
   OCT                  $339.07                     $391.85 *                  $1,276.51                               HOMEOWNERS INS                                      $1,396.18                          $707.43
   OCT                                                                                                     $1,467.99 * HOMEOWNERS INS
   NOV               $339.07                      $391.85          *                                                                                                       $1,735.25                        $1,099.28
   DEC               $339.07                      $391.85          *           $1,396.18                                          COUNTY TAX                      T->        $678.14                        $1,491.13
   JAN               $339.07                        $0.00          *                                                                                                       $1,017.21                        $1,491.13
   FEB               $339.07                      $391.85          *                                       $1,440.63 * COUNTY TAX                                          $1,356.28              A->         $442.35
   MAR               $339.07                        $0.00          *                                                                                                       $1,695.35                          $442.35
   APR               $339.07                        $0.00          *                                                                                                       $2,034.42                          $442.35
   MAY               $339.07                        $0.00          *                                                                                                       $2,373.49                          $442.35
   JUN               $339.07                      $391.85          *           $1,396.18                                          COUNTY TAX                               $1,316.38                          $834.20
   JUL               $339.07
                  __________                        $0.00
                                               __________                    __________                  __________                                                        $1,655.45                          $834.20
                    $4,068.84                    $2,742.95                     $4,068.87                   $2,908.62


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $678.14. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $442.35.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

   Determining your Shortage or Surplus
   Shortage:
    .
   Any shortage in your escrow account is usually caused by one the following items:
    . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
    . A projected increase in taxes for the upcoming year.
      The number of months elapsed from the time of these disbursements to the new payment effective date.
   Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
   shortage can be paid either partially or in full.
   Surplus:
    .
   A surplus in your escrow account is usually caused by one the following items:
    .  The insurance/taxes paid during the past year were lower than projected.
    .  A refund was received from the taxing authority or insurance carrier.
       Additional funds were applied to your escrow account.
   If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
   run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
   your escrow account.




Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS# 38078.
Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).

If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we may
not and do not intend to pursue collection of that obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment from you
personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
Case 2:17-bk-53776         Doc 98     Filed 07/09/20 Entered 07/09/20 17:17:55                 Desc Main
                                      Document     Page 5 of 5


                                     CERTIFICATE OF SERVICE
     On July 9, 2020 I served the foregoing documents described as NOTICE OF MORTGAGE
PAYMENT CHANGE the following individuals by electronic means through the Court’s ECF program:
        DEBTOR’S COUNSEL
        Crystal I Zellar
        mail@zellarlaw.com

        U.S. TRUSTEE
        Asst US Trustee (Day)
        ustpregion09.cb.ecf@usdoj.gov

        I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.
                                                          /s/ Marlen Gomez
                                                          Marlen Gomez

        On July 9, 2020, I served the foregoing documents described as NOTICE OF MORTGAGE
PAYMENT CHANGE on the following individuals by depositing true copies thereof in the United States
mail at Santa Ana, California enclosed in a sealed envelope, with postage paid, addressed as follows:
        DEBTOR
        John Michael Smilo
        636 Ridgewood Dr
        Coshocton, OH 43812

        JOINT DEBTOR
        Traci Lynn Smilo
        636 Ridgewood Dr
        Coshocton, OH 43812

        TRUSTEE
        Interim Faye English
        130 East Wilson Bridge Road
        Suite 200
        Worthington, OH 43085

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
and correct.
                                                          /s/Marlen Gomez
                                                          Marlen Gomez
